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11
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12

13   UNITED STATES OF AMERICA,                         )
                                                       )
                                                           CASE NO.   CR 23-70977-MAG
14           Plaintiff,                                )   NOTICE OF PROCEEDINGS ON OUT-OF-
                                                       )   DISTRICT CRIMINAL CHARGES PURSUANT TO
15      v.                                             )   RULES 5(c)(2) AND (3) OF THE FEDERAL
                                                       )   RULES OF CRIMINAL PROCEDURE
16   ATUL BHIWAPURKAR,                                 )
                                                       )
17           Defendant.                                )
                                                       )
18

19           Please take notice pursuant to Rules 5(c)(2) and (3) of the Federal Rules of Criminal Procedure
20 that on June 29, 2023, the above-named defendant was arrested pursuant to an arrest warrant (copy

21 attached) issued upon an

22           □x       Indictment
23           □        Information
24           □        Criminal Complaint
25           □        Other (describe)
26 pending in the Southern District of New York, Case Number CR 23-319.

27           In that case (copy of indictment attached), the defendant is charged with violations of Title 15,
28 United States Code, Sections 78j(b) and 78ff, and Title 17, Code of Federal Regulations Section


                                                                                                    v. 7/10/2018
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 1 240.10b-5; and violations of Title 18, United States Code, Sections 371, 1343, and 2.

 2          The Indictment alleges that in or about November 2021, defendant Atul Bhiwapurkar

 3 (Defendant), his co-defendant Amit Dagar, and others participated in an insider trading scheme to reap

 4 illicit profits from options trading based on material non-public information (“MNPI”) about the results

 5 of clinical trials of Paxlovid, a drug treatment for COVID-19. In furtherance of the conspiracy,

 6 Defendant, having been tipped off by Dagar, placed orders to buy a total of approximately 200 call

 7 options contracts for Pfizer stock. The Indictment further alleges that on or about November 4, 2021,

 8 Defendant and Dagar willfully and knowingly, directly or indirectly, by use of a means and

 9 instrumentality of interstate commerce and of the mails, and of a facility of a national securities

10 exchange, used and employed, in connection with the purchase and sale of a security, a manipulative

11 and deceptive device and contrivance, including by using MNPI obtained from Pfizer to execute and

12 cause and assist others to execute certain transactions in Pfizer securities.

13          The maximum penalties are as follows:

14              o Securities Fraud, 15 U.S.C. §§ 78j(b), 78ff; 17 C.F.R. § 240.10b-5

15                         20 years' imprisonment; 3 years' supervised release; $5,000,000 fine; $100 special
                            assessment
16
                o Conspiracy to Commit Securities Fraud and Wire Fraud, 18 U.S.C. § 371
17
                           5 years' imprisonment; 3 years' supervised release; $250,000 fine; $100 special
18
                            assessment
19

20                                                                Respectfully Submitted,

21                                                                ISMAIL J. RAMSEY
                                                                  UNITED STATES ATTORNEY
22
     Date: June 29, 2023                                                 /s/ Maia Perez
23
                                                                  MAIA T. PEREZ
24                                                                Assistant United States Attorney

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                                                                                                  v. 7/10/2018
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